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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO

 United States of America,
        Plaintiff,

        v.                                         Criminal No. 13-130 (JAG)

 Miguel Canales Villalongo
        Defendant.

             Government’s Response to Defendant’s Motion to Reduce Sentence
                        Pursuant to 18 U.S.C. § 3582(c)(1)(A)(i)

       Defendant Miguel Canales Villalongo has filed a motion asking this Court to reduce his

sentence of imprisonment under 18 U.S.C. § 3582(c)(1)(A) and order his immediate release,

relying in part on the threat posed by the COVID-19 pandemic. The United States respectfully

opposes the motion. This Court should deny the motion with prejudice because Defendant has not

met his burden of establishing that a sentence reduction is warranted under the statute. This Court

should also deny Defendant’s alternative request for an order directing BOP to transfer him to

home confinement.


                                      Factual Background
       Defendant [1] Miguel Canales Villalongo was sentenced on September 29, 2015, to a term

of 157 months of imprisonment for violation of Title 21, United States Code, Sections 841(a)(1);

846 & 860 and Title 18, United States Code, Section 924(c)(1)(A). ECF No. 1086. After

sentencing, he was committed to the custody of the Bureau of Prisons (‘BOP”) until the expiration

of the term imposed in compliance with Title 18, United States Code, Section 3621. The defendant

has a projected release date of September 1, 2025. He now moves under 18 U.S.C. § 3582(c)(1)(A)

for a sentence reduction resulting in his immediate release from the custody of the Bureau of

Prisons (BOP), relying on the threat posed by the COVID-19 pandemic.




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I.     BOP’s Response to the COVID-19 Pandemic
       As this Court is well aware, COVID-19 is an extremely dangerous illness that has caused

many deaths in the United States in a short period of time and that has resulted in massive

disruption to our society and economy. In response to the pandemic, BOP has taken significant

measures to protect the health of the inmates in its charge.

       BOP has explained that “maintaining safety and security of [BOP] institutions is [BOP’s]

highest priority.” BOP, Updates to BOP COVID-19 Action Plan: Inmate Movement (Mar. 19,

2020), available at https://www.bop.gov/resources/news/20200319_covid19_update.jsp.

       Indeed, BOP has had a Pandemic Influenza Plan in place since 2012. BOP Health Services

Division, Pandemic Influenza Plan-Module 1: Surveillance and Infection Control (Oct. 2012),

available at https://www.bop.gov/resources/pdfs/pan_flu_module_1.pdf. That protocol is lengthy
and detailed, establishing a six-phase framework requiring BOP facilities to begin preparations

when there is first a “[s]uspected human outbreak overseas.” Id. at i. The plan addresses social

distancing, hygienic and cleaning protocols, and the quarantining and treatment of symptomatic

inmates.

       Consistent with that plan, BOP began planning for potential coronavirus transmissions in

January. At that time, the agency established a working group to develop policies in consultation

with subject matter experts in the Centers for Disease Control, including by reviewing guidance

from the World Health Organization.

       On March 13, 2020, BOP began to modify its operations, in accordance with its

Coronavirus (COVID-19) Action Plan (“Action Plan”), to minimize the risk of COVID-19

transmission into and inside its facilities. Since that time, as events require, BOP has repeatedly

revised the Action Plan to address the crisis.

       Beginning April 1, 2020, BOP implemented Phase Five of the Action Plan, which currently

governs operations. The current modified operations plan requires that all inmates in every BOP

institution be secured in their assigned cells/quarters for a period of at least 14 days, in order to

stop any spread of the disease. Only limited group gathering is afforded, with attention to social



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distancing to the extent possible, to facilitate commissary, laundry, showers, telephone, and

computer access. Further, BOP has severely limited the movement of inmates and detainees among

its facilities. Though there will be exceptions for medical treatment and similar exigencies, this

step as well will limit transmissions of the disease. Likewise, all official staff travel has been

cancelled, as has most staff training.

       All staff and inmates have been and will continue to be issued face masks and strongly

encouraged to wear an appropriate face covering when in public areas when social distancing

cannot be achieved.

        Every newly admitted inmate is screened for COVID-19 exposure risk factors and

symptoms. Asymptomatic inmates with risk of exposure are placed in quarantine for a minimum

of 14 days or until cleared by medical staff. Symptomatic inmates are placed in isolation until they

test negative for COVID-19 or are cleared by medical staff as meeting CDC criteria for release

from isolation. In addition, in areas with sustained community transmission, such as Philadelph ia,

all facility staff are screened for symptoms. Staff registering a temperature of 100.4 degrees

Fahrenheit or higher are barred from the facility on that basis alone. A staff member with a stuffy

or runny nose can be placed on leave by a medical officer.

        Contractor access to BOP facilities is restricted to only those performing essential services

(e.g. medical or mental health care, religious, etc.) or those who perform necessary maintenance

on essential systems. All volunteer visits are suspended absent authorization by the Deputy
Director of BOP. Any contractor or volunteer who requires access will be screened for symptoms

and risk factors.

       Social and legal visits were stopped as of March 13, and remain suspended until at least

May 18, 2020, to limit the number of people entering the facility and interacting with inmates. In

order to ensure that familial relationships are maintained throughout this disruption, BOP has

increased detainees’ telephone allowance to 500 minutes per month. Tours of facilities are also

suspended. Legal visits will be permitted on a case-by-case basis after the attorney has been

screened for infection in accordance with the screening protocols for prison staff.


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       Further details and updates of BOP’s modified operations are available to the public on the

BOP website at a regularly updated resource page: www.bop.gov/coronavirus/index.jsp.

       In addition, in an effort to relieve the strain on BOP facilities and assist inmates who are

most vulnerable to the disease and pose the least threat to the community, BOP is exercising greater

authority to designate inmates for home confinement. On March 26, 2020, the Attorney General

directed the Director of the Bureau of Prisons, upon considering the totality of the circumstances

concerning each inmate, to prioritize the use of statutory authority to place prisoners in home

confinement. That authority includes the ability to place an inmate in home confinement during

the last six months or 10% of a sentence, whichever is shorter, see 18 U.S.C. § 3624(c)(2), and to

move to home confinement those elderly and terminally ill inmates specified in 34 U.S.C.

§ 60541(g). Congress has also acted to enhance BOP’s flexibility to respond to the pandemic.

Under the Coronavirus Aid, Relief, and Economic Security Act, enacted on March 27, 2020, BOP

may “lengthen the maximum amount of time for which the Director is authorized to place a

prisoner in home confinement” if the Attorney General finds that emergency conditions will

materially affect the functioning of BOP. Pub. L. No. 116-136, § 12003(b)(2), 134 Stat. 281, 516

(to be codified at 18 U.S.C. § 3621 note). On April 3, 2020, the Attorney General gave the Director

of BOP the authority to exercise this discretion, beginning at the facilities that thus far have seen

the greatest incidence of coronavirus transmission.

       Taken together, all of these measures are designed to mitigate sharply the risks of COVID-

19 transmission in a BOP institution. BOP has pledged to continue monitoring the pandemic and

to adjust its practices as necessary to maintain the safety of prison staff and inmates while also

fulfilling its mandate of incarcerating all persons sentenced or detained based on judicial orders.

       Unfortunately and inevitably, some inmates have become ill, and more likely will in the

weeks ahead. But BOP must consider its concern for the health of its inmates and staff alongside

other critical considerations. For example, notwithstanding the current pandemic crisis, BOP must

carry out its charge to incarcerate sentenced criminals to protect the public. It must consider the

effect of a mass release on the safety and health of both the inmate population and the citizenry. It


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must marshal its resources to care for inmates in the most efficient and beneficial manner possible.

It must assess release plans, which are essential to ensure that a defendant has a safe place to live

and access to health care in these difficult times. And it must consider myriad other factors,

including the availability of both transportation for inmates (at a time that interstate transportation

services often used by released inmates are providing reduced service), and supervision of inmates

once released (at a time that the Probation Office has necessarily cut back on home visits and

supervision).

II.    Defendant’s Conviction and Request for a Sentence Reduction
       On April 15, 2015, defendant [1] Miguel Canales Villalongo pleaded guilty as to counts

one (1) and five (5) of the Indictment. ECF No. 997. Count One (1) charged the defendant with

conspiracy to possess with intent to distribute controlled substances, (2) kilograms but less than

(3.5) kilograms of cocaine in violation of 21 U.S.C. §§ 841(a)(1), 846 and 860. Id. Count five (5)

charged the defendant with conspiracy to knowingly and unlawfully use and carry firearms as

defined in Title 18, United States Code, Section 921 (a)(3), during and in relation to a drug

trafficking crime as charged on Count one of the indictment. In violation of Title 18, United States

Code, § 924(c)(1,)(A).

       On September 29, 2015, the District Court sentenced the defendant to one hundred and

fifty seven (157) months of imprisonment. ECF No. 1086

       Defendant has filed two earlier requests seeking a reduction in his sentence, neither of
which have been granted. On June 20, 2016 defendant filed a motion to reduce sentences based on

Amendment 782 to the sentencing guidelines. On January 30,2017, this Honorable Court denied

the motion for reduction of sentence based on Amendment 782. ECF No. 1174. On February 13,

2018, the defendant filed a Motion for Requesting recommendation for residential re-entry center.

ECF No. 1213. That motion was later denied by this Court. ECF No. 1255.

       Defendant’s petition includes he sought compassionate release within the prison, and the

same was denied stating he did not comply with the Attorney General’s criteria and was not eligible




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for home confinement placement Simultaneously with this petition, however, he appears to have

requested home confinement from the Bureau of Prisons. ECF No. 1291-1.

       On June 2, 2020, Defendant filed a motion with this Court seeking compassionate release

under 18 U.S.C. § 3582(c)(1)(A) on the grounds that (1) he suffers from sinusitis, severe bouts of

sneezing, coughing and shortening of breath from childhood, and (2) merely “being an inmate

places him at high risk for serious medical complications were he to contract the coronavirus.”

ECF No. 1291. Defendant is 32 years old. ECF No. 1058.

                                         Legal Framework
        Under 18 U.S.C. § 3582(c)(1)(A) a court may reduce the defendant’s term of imprisonment

“after considering the factors set forth in [18 U.S.C. § 3553(a)]” if the Court finds, as relevant here,

that (i) “extraordinary and compelling reasons warrant such a reduction” and (ii) “such a reduction

is consistent with applicable policy statements issued by the Sentencing Commission.”

§ 3582(c)(1)(A)(i). As the movant, the defendant bears the burden to establish that he or she is

eligible for a sentence reduction. United States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016); United

States v. Green, 764 F.3d 1352, 1356 (11th Cir. 2014).

        The Sentencing Commission has issued a policy statement addressing reduction of

sentences under § 3582(c)(1)(A). As relevant here, the policy statement provides that a court may

reduce the term of imprisonment after considering the § 3553(a) factors if the Court finds that

(i) “extraordinary and compelling reasons warrant the reduction;” (ii) “the defendant is not a

danger to the safety of any other person or to the community, as provided in 18 U.S.C. § 3142(g);”

and (iii) “the reduction is consistent with this policy statement.” USSG § 1B1.13. 1


1The policy statement refers only to motions filed by the BOP Director. That is because the policy
statement was last amended on November 1, 2018, and until the enactment of the First Step Act
on December 21, 2018, defendants were not entitled to file motions under § 3582(c). See First Step
Act of 2018, Pub. L. No. 115-391, § 603(b), 132 Stat. 5194, 5239; cf. 18 U.S.C. § 3582(c) (2012).
In light of the statutory command that any sentence reduction be “consistent with applicable policy
statements issued by the Sentencing Commission,” § 3582(c)(1)(A)(ii), and the lack of any
plausible reason to treat motions filed by defendants differently from motions filed by BOP, the
policy statement applies to motions filed by defendants as well.


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       The policy statement includes an application note that specifies the types of medical

conditions that qualify as “extraordinary and compelling reasons.” First, that standard is met if the

defendant is “suffering from a terminal illness,” such as “metastatic solid-tumor cancer,

amyotrophic lateral sclerosis (ALS), end-stage organ disease, [or] advanced dementia.” USSG

§ 1B1.13, cmt. n.1(A)(i). Second, the standard is met if the defendant is:
               (I) suffering from a serious physical or medical condition,
               (II) suffering from a serious functional or cognitive impairment, or
               (III) experiencing deteriorating physical or mental health because of the
               aging process,
       that substantially diminishes the ability of the defendant to provide self-care within
       the environment of a correctional facility and from which he or she is not expected
       to recover.
USSG § 1B1.13, cmt. n.1(A)(ii). The application note also sets out other conditions and

characteristics that qualify as “extraordinary and compelling reasons” related to the defendant’s

age and family circumstances. USSG § 1B1.13, cmt. n.1(B)-(C). Finally, the note recognizes the

possibility that BOP could identify other grounds that amount to “extraordinary and compelling

reasons.” USSG § 1B1.13, cmt. n.1(D).

                                            Arguments
       The Court should deny it with prejudice because Defendant has not established that

“extraordinary and compelling reasons” support a sentence reduction. In addition, this Court lacks

statutory authority to grant Defendant’s alternative request to direct BOP to transfer him to home
confinement.

III.   Should The Court Reach the Merits, It Should Deny The Motion Because Defendant
       Has Failed to Present Any “Extraordinary and Compelling Reasons” Warranting a
       Sentence Reduction.
       Even if this Court had authority to grant Defendant’s motion for a reduction of his sentence,

it should be denied because Defendant has not identified “extraordinary and compelling reasons”

for that reduction within the meaning of § 3582(c)(1)(A) and the Sentencing Commission’s policy

statement.




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        A.      Defendant Has Not Identified “Extraordinary and Compelling Reasons” for
                a Sentence Reduction.
        Defendant’s request for a sentence reduction should be denied because he has not

demonstrated “extraordinary and compelling reasons” warranting release. As explained above,

under the relevant provision of § 3582(c), a court can grant a sentence reduction only if it

determines that “extraordinary and compelling reasons” justify the reduction and that “such a

reduction is consistent with applicable policy statements issued by the Sentencing Commission.”

18 U.S.C. § 3582(c)(1)(A)(i). The Sentencing Commission’s                  policy statement defines

“extraordinary and compelling reasons” to include, as relevant here, certain specified categories

of medical conditions. USSG § 1B1.13, cmt. n.1(A).

        For that reason, to state a cognizable basis for a sentence reduction based on a medical

condition, a defendant first must establish that his condition falls within one of the categories listed

in the policy statement. Those categories include, as particularly relevant here, (i) any terminal

illness, and (ii) any “serious physical or medical condition . . . that substantially diminishes the

ability of the defendant to provide self-care within the environment of a correctional facility and

from which he or she is not expected to recover.” USSG 1B1.13, cmt. n.1(A). If a defendant’s

medical condition does not fall within one of the categories specified in the application note (and

no other part of the application note applies), his or her motion must be denied.

        The mere existence of the COVID-19 pandemic, which poses a general threat to every non-

immune person in the country, does not fall into either of those categories and therefore could not
alone provide a basis for a sentence reduction. The categories encompass specific serious medical

conditions afflicting an individual inmate, not generalized threats to the entire population. As the

Third Circuit has held, “the mere existence of COVID-19 in society and the possibility that it may

spread to a particular prison alone cannot independently justify compassionate release.” Raia, 2020

WL 1647922 at *2; see also Eberhart, 2020 WL 1450745 at *2 (“a reduction of sentence due solely

to concerns about the spread of COVID-19 is not consistent with the applicable policy statement




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of the Sentencing Commission as required by § 3582(c)(1)(A).”). 2 To classify COVID-19 as an

extraordinary and compelling reason would not only be inconsistent with the text of the statute and

the policy statement, but would be detrimental to BOP’s organized and comprehensive anti-

COVID-19 regimens, could result in the scattershot treatment of inmates, and would undercut the

strict criteria BOP employs to determine individual inmates’ eligibility for sentence reductions and

home confinement. Section 3582(c)(1)(A) contemplates sentence reductions for specific

individuals, not the widespread prophylactic release of inmates and the modification of lawfully

imposed sentences to deal with a world-wide viral pandemic.

       That does not mean, however, that COVID-19 is irrelevant to a court’s analysis of a motion

under § 3582(c)(1)(A). If an inmate has a chronic medical condition that has been identified by

the CDC as elevating the inmate’s risk of becoming seriously ill from COVID-19,3 that condition
may satisfy the standard of “extraordinary and compelling reasons.” Under these circumstances, a

chronic condition (i.e., one “from which [the defendant] is not expected to recover”) reasonably

may be found to be “serious” and to “substantially diminish[] the ability of the defendant to provide

self-care within the environment of a correctional facility,” even if that condition would not have

constituted an “extraordinary and compelling reason” absent the risk of COVID-19. USSG §

1B1.13, cmt. n.1(A)(ii)(I). But as part of its analysis of the totality of circumstances, the Court


2 See also, e.g., United States v. Coles, 2020 WL 1899562 (E.D. Mich. Apr. 17, 2020) (denied for
28-year-old inmate at institution with outbreak); United States v. Okpala, 2020 WL 1864889
(E.D.N.Y. Apr. 14, 2020); United States v. Weeks, 2020 WL 1862634 (S.D.N.Y. Apr. 14, 2020);
United States v. Haney, 2020 WL 1821988 (S.D.N.Y. Apr. 13, 2020) (denied for 61-year-old with
no other conditions); United States v. Pinto-Thomaz, 2020 WL 1845875 (S.D.N.Y. Apr. 13, 2020)
(two insider trading defendants with less than a year to serve have no risk factors); United States
v. Korn, 2020 WL 1808213, at *6 (W.D.N.Y. Apr. 9, 2020) (“in this Court’s view, the mere
possibility of contracting a communicable disease such as COVID-19, without any showing that
the Bureau of Prisons will not or cannot guard against or treat such a disease, does not constitute
an extraordinary or compelling reason for a sentence reduction under the statutory scheme.”);
United States v. Carver, 2020 WL 1892340 (E.D. Wash. Apr. 8, 2020).
3   See Centers for Disease Control, At Risk for Severe Illness, available at
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/groups-at-higher-risk.html
(last modified Apr. 2, 2020).


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should consider whether the inmate is more likely to contract COVID-19 if he or she is released

than if he or she remains incarcerated. That will typically depend on the inmate’s proposed release

plans and whether a known outbreak has occurred at his or her institution.

       In this case, Defendant has asserted in his initial petition that he was seeking compassionate

release merely as a “preventive” measure, largely because of generalized concerns about the spread

of the virus. ECF No. 1291. He added that he had suffered from sinusitis bouts of coughing and

shortening of breath symptoms, but admitted that these had occurred since childhood.          For two

separate reasons, that contention does not establish “extraordinary and compelling reasons” for a

sentence reduction under § 3582(c)(1)(A) and so Defendant’s motion cannot be granted.

       First, Defendant has not provided sufficient documentation for his asserted medical

conditions and therefore cannot meet his burden to establish his entitlement to a sentence reduction

on that ground alone. Not a single malady defendant identifies is supported by any documentation.

The court cannot simply take defendant at his word that his illnesses justify a reduction in his

sentence of nearly an entire year.

       Second, none of Defendant’s identified medical conditions fall within one of the categories

specified in the policy statement’s application note. Defendant’s asserted conditions do not rise to

the level of severity required under the policy statement. His pre-incarceration cold symptoms are

far outside the realm of conditions justifying compassionate release. There is no indication that he

suffers, as he must to obtain compassionate release based on medical circumstances, from a
“serious physical or medical condition . . . that substantially diminishes the ability of the defendant

to provide self-care within the environment of a correctional facility and from which he or she is

not expected to recover.” USSG 1B1.13, cmt. n.1(A).

       Further, most of the conditions identified by Defendant are not conditions identified by the

CDC as increasing a person’s risk for developing serious illness from COVID-19

       The generalized affidavits attached to Defendant’s petition, which do not even mention

his specific circumstances, do not support his claim that his medical conditions justify

compassionate release.


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       For these reasons, Defendant has failed to establish an “extraordinary and compelling

reason” for a sentence reduction under § 3582(c). The motion should be denied.

       Accordingly, in light of Defendant’s record and the totality of relevant circumstances, this

Court should deny the motion for a sentence reduction.

IV.    This Court Has No Authority to Direct the BOP to Place the Defendant in Home
       Confinement.
       Defendant has also asked in the alternative that this Court order BOP to place him on home

confinement. That request should be denied because this Court has no authority to direct BOP to

place a defendant in home confinement. Rather, such designation decisions are committed solely

to BOP’s discretion.

       Once a sentence is imposed, BOP is solely responsible for determining an inmate’s place

of incarceration. See 18 U.S.C. § 3621(b); Moore v. United States Att’y Gen., 473 F.2d 1375, 1376

(5th Cir. 1973) (per curiam); see also McKune v. Lile, 536 U.S. 24, 39 (2002) (plurality opinion)

(“It is well settled that the decision where to house inmates is at the core of prison administrators’

expertise.”). A court has no authority to designate a prisoner’s place of incarceration. United States

v. Voda, 994 F.2d 149, 151-52 (5th Cir. 1993). Because the defendant’s request for home

confinement alters only the place of incarceration, not the actual term of incarceration, only BOP

may grant or deny his request.

       Moreover, there is no constitutional or statutory authority that allows the Court to order

home confinement. A prisoner has no constitutional right to confinement in any particular place,
including in home confinement. See Sandin v. Conner, 515 U.S. 472, 478 (1995) (“the Due Process

Clause did not itself create a liberty interest in prisoners to be free from intrastate prison

transfers.”); Meachum v. Fano, 427 U.S. 215, 224 (1976) (“The conviction has sufficiently

extinguished the defendant’s liberty interest to empower the State to confine him in any of its

prisons.”). Following the imposition of sentence, the Court has limited jurisdiction to correct or

modify that sentence absent specific circumstances enumerated by Congress in 18 U.S.C. § 3582.

United States v. Garcia, 606 F.3d 209, 212 n.5 (5th Cir. 2010) (per curiam). Section 3582(c)



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contemplates only a reduction in sentence. See § 3582(c). But Defendant’s request to serve the rest

of his term in home confinement, as opposed to prison, works no reduction to his sentence. Home

confinement merely permits the inmate to serve out his term of imprisonment at home. Defendant’s

request for such relief therefore falls outside § 3582(c)’s limited grant of authority to this Court to

modify a sentence post-conviction. Because § 3582(c) deprives the Court of jurisdiction to grant

home confinement and because Defendant offers no other statutory authority to support his request

for such relief, this Court has no authority to act on his request for such relief in this forum. 4

                                             Conclusion
        For these reasons, this Court should deny Defendant’s motion for a sentence reduction

without prejudice for failure to exhaust administrative remedies or, in the alternative, deny the

motion on the merits.

        RESPECTFULLY SUBMITTED.

        In San Juan, Puerto Rico, this 8th day of June 2020.

                                                        W. STEPHEN MULDROW
                                                        United States Attorney

                                                        /s//Evelyn Canals
                                                        Evelyn Canals
                                                        U.S.D.C. # 207107
                                                        Assistant United States Attorney
                                                        U.S. Attorney’s Office
                                                        Torre Chardón, Suite 1201
                                                        # 350 Carlos Chardón Ave.
                                                        Hato Rey, PR 00918
                                                        Tel.: (787) 766-5656
                                                        Email: evelyn.canals@usdoj.gov


4 If a court grants a sentence reduction, it may “impose a term of . . . supervised release with or
without conditions that does not exceed the unserved portion of the original term of
imprisonment.” § 3582(c)(1)(A). In imposing a term of supervised release, the court may impose
a period of home confinement as a condition of supervised release, provided that the court finds
that home confinement is a “substitute for imprisonment.” USSG § 5F1.2; see 18 U.S.C. § 3583(d).
Alternatively, a court may consider modifying an existing term of supervised release to add a
period of home confinement, consistent with USSG § 5F1.2. See § 3583(e)(2).


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                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this date, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system which will send notification of such filing to defense

counsel as stated below.



/s/Evelyn Canals

Evelyn Canals
U.S.D.C. # 207107
Assistant United States




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